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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

  IRA KLEIMAN, as personal representative of
  the estate of David Kleiman, and W&K INFO
  DEFENSE RESEARCH, LLC

         plaintiffs,
  v.                                                           Case No. 9:18-cv-80176 (BB/BR)

  CRAIG WRIGHT,

        defendant.
  _____________________________________/

                        DEFENDANT’S OPPOSITION TO
                     PLAINTIFFS’ IMPROPER MOTION FOR
           ATTORNEY’S FEES AND REQUEST FOR EVIDENTIARY HEARING

         Plaintiffs are requesting that the Court award them $658,581.78 because their counsel

  spent 719.8 hours filing and litigating two motions, totaling 11 pages, and participated in an

  evidentiary hearing, for which the total time in Court was 13 hours and 20 minutes.1 To support

  the number that they want this Court to order defendant to pay, plaintiffs’ motion for attorney’s

  fees [D.E. 303] (the “Fee Motion”) claims that their attorneys’ hourly rates are $900 (for a

  lawyer with seven years of experience) and $695 (for a lawyer with two years of experience).

  Plaintiffs do not provide any actual evidence that these are their counsels’ actual hourly rates—

  plaintiffs’ invoices from Boies Schiller Flexner LLP (“BSF”) are blanketed in redactions (even

  though there was no reason to do so);2 and the invoices from Roche Freedman LLP state

  different hourly rates than the Fee Motion, see D.E. 303-2 at 117.


  1
    See D.E. 232 (total time in court 4 hours and 50 minutes); D.E. 258 (total time in court 6
  hours); D.E. 274 (total time in court 2 hours and 30 minutes).
  2
    Chaudhry v. Gallerizzo, 174 F.3d 394, 402 (4th Cir.1999) (“the attorney-client privilege does
  not extend to billing records and expense reports.”). There is no justification from blanketing all
  the invoices with improper redactions—not all information in an invoice can possibly be
  privileged.
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          The defendant demonstrates through this opposition that plaintiffs’ request is patently

  unreasonable on its face. The hourly rates that plaintiffs are requesting are egregious and—based

  on other publicly filed declarations from plaintiffs’ law firm—it would appear that the Fee

  Motion is misrepresenting counsels’ hourly rates. The defendant also demonstrates that plaintiffs

  failed to provide adequate evidence of their time spent. The actual invoices are blanketed with

  redactions, and Exhibit 1 to the Fee Motion [D.E. 303-1], which plaintiffs claim to be a “detailed

  accounting of all tasks performed during the hours billed,” should be disregarded. It appears that

  plaintiffs’ Exhibit 1 is a document that plaintiffs created as a compilation of work that was

  purportedly extrapolated from the redacted invoices. However, the problem with Exhibit 1 is that

  it alters the actual time entries from the actual invoices (in the very limited portions of the

  invoices that plaintiffs did not redact). For example, where counsel blocked billed in their

  invoices for several tasks, including tasks that are not related to what the Court ordered that it

  would consider, in preparing Exhibit 1, plaintiffs simply removed any mention of the tasks that

  are not subject to a potential fee award. This appears to be an attempt to cure problems with

  plaintiffs’ invoices. See Ferrate Treatment Techs., LLC v. Ciampi, 2007 WL 1128962, at *3

  (M.D. Fla. 2007) (denying an award of fees because when invoices “include multiple tasks in a

  single time entry, often referred to as ‘block billing,’ it is difficult for the Court to determine

  what work was performed on particular issues.”).

          But the most important reason why plaintiffs’ Fee Motion should be outright denied is

  that they failed to comply with Local Rule 7.3. Irish v. Reynolds, 2018 WL 1863765, at *3 (S.D.

  Fla. 2018) (“Here, the most important reason why Plaintiffs' motion should be denied is because

  Plaintiffs failed to comply with Local Rule 7.3.”). While plaintiffs state that the Fee Motion is




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  being filed “pursuant to . . . Local Rule 7.3(a) and (b),” Fee Motion at 1, plaintiffs never

  complied with either provision.

          Plaintiffs violate Local Rule 7.3(a) by failing to (1) verify their Fee Motion, (2) disclose

  the terms of their fee agreement, and (3) “certify that a good faith effort to resolve issues by

  agreement occurred pursuant to Local Rule 7.3(b).” Likewise, plaintiffs violated Local Rule

  7.3(b) because plaintiffs never followed any of the rule’s requirements. Plaintiffs did not serve

  defendant with a draft of the Fee Motion 30 days before filing, which in turn, did not provide

  defendant with an opportunity to “describe in writing and with reasonable particularity each time

  entry or nontaxable expense to which [he] objects . . . .” Local Rule 7.3(b).3 As we demonstrate

  below, courts of this district, including this Court, and the Eleventh Circuit, have all held that

  violating Local Rule 7.3 is reason enough to deny the Fee Motion.

  1.      Plaintiffs’ Fee Motion Violates Local Rule 7.3

          Plaintiffs’ Fee Motion is not verified. See Local Rule 7.3(a)(7). The Fee Motion does not

  “disclose the terms of any applicable fee agreement” between plaintiffs and their Counsel. Local

  Rule 7.3(a)(4). The Fee Motion does not “certify that a good faith effort to resolve issues by

  agreement occurred pursuant to Local Rule 7.3(b) . . . .” Local Rule 7.3(a)(8). In addition,

  plaintiffs never complied with Local Rule 7.3(b), which requires plaintiffs to provide defendant

  with a draft of their Fee Motion, including invoices, allowing defendant to have an opportunity

  to object to time entries prior to their filing:

          Except as to any aspect of a fee claim upon which the parties agree, a draft motion
          compliant with Local Rule 7.3(a)(1)-(8) must be served but not filed at least thirty
          (30) days prior to the deadline for filing any motion for attorneys’ fees and/or costs
          that is governed by this Local Rule. Within twenty-one (21) days of service of the

  3
    It’s worth noting that plaintiffs are also preventing defendant with an opportunity to object to
  “each and every time entry” after they filed their Fee Motion because they improperly blanketed
  the invoices with redactions.
                                                     3
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          draft motion, the parties shall confer and attempt in good faith to agree on
          entitlement to and the amount of fees and expenses not taxable under 28 U.S.C. §
          1920. The respondent shall describe in writing and with reasonable particularity
          each time entry or nontaxable expense to which it objects, both as to issues of
          entitlement and as to amount, and shall provide supporting legal authority
  Local Rule 7.3(b); see also Reynolds, 2018 WL 1863765, at *3 (“Local Rule 7.3(b) states, in

  relevant part, that: (1) ‘[a] draft motion . . . must be served but not filed within thirty (30) days

  after entry of the final judgment or order,’ and (2) ‘[w]ithin twenty-one (21) days of service of

  the draft motion, the parties shall confer and attempt in good faith to agree on entitlement to and

  the amount of fees.’”).

          The first time that defendant saw the Fee Motion, or any of the heavily redacted invoices,

  was when plaintiffs filed the Fee Motion on November 20. Plaintiffs made no effort to comply

  with Local Rule 7.3(b). Courts of this district, including this Court, have routinely denied

  motions for attorney’s fees where the movant fails to comply with Local Rule 7.3. Reynolds,

  2018 WL 1863765, at *3 (“Here, the most important reason why Plaintiffs' motion should be

  denied is because Plaintiffs failed to comply with Local Rule 7.3.”); Norych v. Admiral Ins. Co.,

  2010 WL 2557502, at *2 (S.D. Fla. 2010) (denying fee motion because movant “failed to

  comply with Local Rules 7.3(a)(1) and 7.3(b)[,]” and stating that “Local Rule 7.3 would be

  undermined if a party did not have to serve a draft motion simply because it believed or

  understood the motion would be opposed.”); Sodikart USA v. Geodis Wilson USA, Inc., 2014

  WL 6968073, at *6 (S.D. Fla. 2014) (Valle, J.) (failing to comply with Local Rule 7.3 is

  “sufficient reason to deny the Motion.”); Latele Television, C.A. v. Telemundo Commc'ns Grp.,

  LLC, 2015 WL 1412363, at *4 (S.D. Fla. 2015) (denying fee motion for failing to comply with

  Local Rule 7.3); Trustees of Miami Ironworkers Local 272 Pension Fund v. Amalgamated Glass,

  Inc., 2008 WL 1787113 (S.D. Fla. 2008) (denying motion for attorney’s fees because movant

  failed to comply with Local Rule 7.3); Provide Commerce, Inc. v. Preferred Commerce, Inc.,

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  2008 WL 360591, at *2 (S.D. Fla. 2008) (denying a request for attorneys’ fees because the

  defendant failed to comply with the Local Rules). Counsels

         Additionally, the Eleventh Circuit has stated that violating Local Rule 7.3 is an

  independent sufficient basis to deny a fee motion. J.B. Hunt Transp., Inc. v. S & D Transp., Inc.,

  2014 WL 5011135, at *3 (11th Cir. Oct.8, 2014) (“Because the district court held that J.B. Hunt

  failed to comply with Local Rule 7.3, which constituted an independently sufficient basis to deny

  J.B. Hunt's motions, we affirm.”).

  2.     Plaintiffs are Requesting Excessive Hourly Rates and Provide no Evidence of Their
         Counsel’s Actual Hourly Rates
         “A reasonable hourly rate is the prevailing market rate in the relevant legal community

  for similar services by lawyers of reasonably comparable skills, experience, and reputation.”

  Norman v. Hous. Auth. of City of Montgomery, 836 F.2d 1292, 1299 (11th Cir. 1988) (citing

  Blum v. Stenson, 465 U.S. 895-96 n.11 (1984)). Further, the court may consider its own

  knowledge and experience regarding the range of fees charged in the marketplace in

  making a fee award. Id. at 1304.

         Mr. Devin Freedman, a lawyer with seven years of experience, is requesting an hourly

  rate of $900 an hour, and Mr. Kyle Roche, a lawyer with two years of experience, is requesting

  an hourly rate of $690. We demonstrate below that (1) plaintiffs counsel’s hourly rates far

  exceed comparable rates for lawyers with their experience, and (2) plaintiffs provide no actual

  evidence of Messrs. Freedman’s and Roche’s hourly rates but, based on other public filings, it

  appears that plaintiffs are misrepresenting their counsels’ hourly rates.

         A.        Plaintiffs’ Hourly Rates Far Exceed the Prevailing Market Rate

         The undersigned, Andres Rivero, has over 32 years of experience litigating complex

  cases, in both private practice and as a federal prosecutor. In 2016, another court in this district

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  approved a class-action settlement, which provided for $124,000,000 worth of class-wide relief,

  and determined that Mr. Rivero’s rate of $700 per hour is reasonable. See Oakes v. Blue Cross &

  Blue Shield of Fla., Inc., No. 9:16-cv-80028 (S.D. Fla. October 21, 2016).

           Another seasoned litigator, Mr. Peter Prieto—a well-known law partner at Podhurst

  Orseck, P.A.—has more than 25 years of experience litigating complex cases, including

  experience as a federal prosecutor.4 In 2013, he filed a motion for attorney’s fees stating that his

  then rate was $695. See Bacon v. Stieffel Laboratories, Inc., No. 11-cv-20489, at D.E. 183 at 10

  (S.D. Fla. October 14, 2013), attached as Exhibit A.

           Finally, and most importantly, the Court may rely on its own knowledge and experience

  regarding the market rate. Norman, 836 F.2d at 1304. In 2008, while in private practice, Your

  Honor—with 20 years of experience, including experience as a federal prosecutor—filed a

  declaration with attached invoices that disclosed an hourly rate of $500. See Decl. of Bruce E.

  Reinhart, attached as Exhibit B.

           These are three experienced lawyers with experience as a federal prosecutor, who all

  litigate (or litigated) in this district, and none are (or were) billing at rates as high as plaintiffs’

  counsel. Plaintiffs’ requested hourly rates are egregiously excessive.

           B.     Plaintiffs fail to provide any actual evidence of their hourly rates, and other
                  declarations submitted by plaintiffs’ law firm suggests that the rates in the Fee
                  Motion are not their actual rates

           While plaintiffs are requesting $900 an hour for Mr. Freedman and $690 for Mr. Roche,

  they fail to provide any evidence that those are their actual rates.




  4
      https://www.podhurst.com/our-team/peter-prieto/
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         First, the Fee Motion is not verified, as Local Rule 7.3(a)(7) requires. Therefore, what

  plaintiffs claim their counsels’ hourly rates are in the Fee Motion is evidence of nothing,

  although it is subject to Rule 11.

         Second, the invoices from their newly created firm, Roche Freedman LLP, disclose

  different and higher rates than what plaintiffs state in the Fee Motion. See Fee Motion at 6 (Mr.

  Freedman’s hourly rate is $900; Mr. Roche’s rate is $690); but compare D.E. 303-2 (Roche

  Freedman’s invoices show that Mr. Freedman’s hourly rate is $975 and Mr. Roche’s rate is

  $900). We have no idea which hourly rates plaintiffs are using to get to $658,581.78.

         Third, plaintiffs redacted any mention of Messrs. Freedman and Roche’s rates while they

  were associates at BSF. There was no reason to redact hourly rates—that information is not

  privileged or confidential and is required to be disclosed in the Fee Motion. See Local Rule

  7.3(a)(5)(D). Furthermore, it is worth noting that it was not until August 6 that plaintiffs’ counsel

  changed firm, and by that time, the bulk of work that is at issue in the Fee Motion occurred

  before that date. Plaintiffs’ failure to accurately state their counsel’s hourly rate is reason enough

  to deny the unverified Fee Motion. Sodikart, Case No. 14-cv-22461 (Bloom, J.) (denying a fee

  motion for failing to comply with Local Rule 7.3 and stating that “[t]he Local Rules of this Court

  are not superfluous and the Court does not take them lightly.”)

         Moreover, it is likely that plaintiffs redacted their counsels’ BSF hourly rates because

  Messrs. Freedman’s and Roche’s hourly rates were not $900 and $695, as stated in the Fee

  Motion, or $975 and $900, as stated in their Roche Freedman’s invoices. As evidenced by other

  declarations submitted by plaintiffs’ law firm BSF, plaintiffs’ hourly rates likely were much

  lower than what plaintiffs state in the Fee Motion.




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          On July 24, 2017, Mr. Carl Goldfarb, Esq.—a partner in BSF’s Ft. Lauderdale office with

  over twenty years of experience—submitted a declaration to a district court attesting that his own

  rate is $850. See C. Goldfarb Decl. ¶ 3, attached as Exhibit C. It is non-sensical that Mr.

  Freedman’s hourly rate is somehow higher than Mr. Goldfarb’s rate. Moreover, in Mr.

  Goldfarb’s declaration, he lists the hourly rates of dozens of other lawyers from BSF, and not

  one of the associates (or lawyers with similar level of experience) identified in his declaration

  have a rate near what plaintiffs are seeking.

          In a declaration for another fee motion, which was filed just two months ago, BSF’s Los

  Angeles office disclosed that a partner with 16 years of experience hourly rate was $720. Decl.

  of D. Burman ¶ 7, attached as Exhibit D. A senior associate with eight years of experience had

  an hourly rate of $640. Id. And a junior associate with four years of experience had an hourly

  rate of $470. Those rates are far lower than the purported hourly rates that plaintiffs’ list in their

  Fee Motion. Id.

  3.      The Amount of Time Spent Is Unreasonable
          As discussed supra, plaintiffs never provided defendant with an opportunity to review

  their time entries and object in writing prior to plaintiffs filing their Fee Motion. Plaintiffs are

  also preventing defendant from reviewing time entries after they filed their Fee Motion because

  their actual invoices are all heavily redacted. Consequently, defendant is forced to make his

  objections to the amount of hours plaintiffs are requesting based on the obvious—that is, it is

  unreasonable on its face for plaintiffs to request 719.8 hours to file two motions, which totaled

  11 pages, and prepare for and attend an evidentiary hearing that lasted approximately 13 hours.5


  5
   It is not clear from the Court’s order whether the evidentiary hearing should be included with
  plaintiffs’ request. The Court stated that it would consider fees for filing and litigating two
  motions, both of which were already granted before the Court held the evidentiary hearing.
  Because the motions were already granted, we submit that plaintiffs should not be awarded fees
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         Furthermore, the very small portion of the exhibits that are not redacted show that

  counsel worked excessively on the case, in a matter that simply does not seem humanly possible.

  For example, Mr. Freedman states that he worked for 19 hours on August 25, 2019, and then

  worked another 18 hours the following day, August 26, 2019. D.E. 303-2 at 122. This pattern is

  also repeated on August 4, 2019 (19.3 hours) and August 5, 2019 (18 hours). Id. at 118. He also

  claims to have worked excessive hours on the following dates: August 2, 2019 (16.2 hours),

  August 1st (14.9 hours), June 27, 2019 (15.5 hours), June 25, 2019 (15 hours), and June 26, 2019

  (15 hours). Similarly, Mr. Roche claims to have worked the following hours: August 1, 2019

  (18.2 hours), August 2, 2019 (16.8 hours) and August 4, 2019 (17.5 hours). Id. at 117.

         Lastly, plaintiffs attach an Exhibit 3 [D.E. 303-3] to back up their claimed costs, but that

  exhibit is woefully deficient. The vast majority of the costs are related to plaintiffs’ expert, Mr.

  Edman. However, the invoice contains no information as to the work actually performed by Mr.

  Edman. For example, the exhibit has a $28,348.57 entry for “Professional Services for Digital

  Forensics and Cryptography”:




  Exhibit 3 at 1. That is insufficient information to determine what exact services Mr. Edman

  provided, and whether they were even related to the motion to compel—especially since

  plaintiffs already filed their motions well before that date.




  for the evidentiary hearing, which is on top of the Court making factual findings and striking
  affirmative defenses. Nonetheless, even when factoring in the evidentiary hearing, that number
  plaintiffs are requesting (719.8) is still unreasonable.

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   4.     The Court should disregard Exhibit 1 to the Fee Motion

          The first exhibit to the Fee Motion [D.E. 303-1], which plaintiffs describe as a purported

   “detailed accounting of all tasks performed during the hours billed,” should be disregarded

   because it is a document that plaintiffs prepared for the Fee Motion that appears to misstate

   plaintiffs counsels’ actual billing entries. For example, Exhibit 1 represents that Mr. Brenner has

   the following two time entries:




   D.E. 303-1 at 3. But that is not what Mr. Brenner’s invoice states for the work performed:




   D.E. 303-2 at 7.

          Key here is that Mr. Brenner initially had block billed his time, but then plaintiffs, in

   preparing Exhibit 1, removed Mr. Brenner’s reference to the additional work performed on that

   date—which was that he revised a mediation statement (and something else that was redacted).

   Plaintiffs simply removed the reference to the .5 and 1 hour from the actual invoice and placed it

   on Exhibit 1—without any mention of the additional work performed—which makes it appear as

   though Mr. Brenner had not performed additional work that day.

          Likewise, for Mr. Roche, Exhibit 1 contains the following time entries:




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   D.E. 303-1 at 2. The actual invoice, however, reveals that these entries were part of a much

   larger block billing:




   Exhibit 2 at 37.

           It is difficult for any lawyer to remember exactly how much time was devoted to various

   tasks that were performed five months ago. Moreover, court have repeatedly warned that block

   billing will lead to reduced or denial of fees. See, e.g., Ferrate Treatment Techs., LLC v. Ciampi,

   2007 WL 1128962, at *3 (M.D. Fla. 2007) (denying an award of fees because when invoices

   “include multiple tasks in a single time entry, often referred to as ‘block billing,’ it is difficult for

   the Court to determine what work was performed on particular issues.”). Plaintiffs should not be

   allowed to fix this problem by creating a compilation of altered billing entries.

           Finally, in addition to block billing, plaintiffs counsels’ time entries are also vague:




   D.E. 303-1 at 2. Defendant and this Court should not be tasked with figuring out what plaintiffs’

   counsel meant by “other discovery issues” and “attention to motion practice.” Bujanowski v.

   Kocontes, 2009 WL 1564263, at *2 (M.D. Fla. Feb. 2, 2009) (“In addition to a reduction for

   block billing, a time entry may be further discounted where the description of the work

   performed is overly vague.”).




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                                            CONCLUSION

          Defendant requests that the Court deny the Fee Motion in its entirety. However, if the

   Court’s is inclined to grant any portion of the improper Fee Motion, defendant respectfully

   requests that the Court order an evidentiary hearing. Given the conflicting information in the Fee

   Motion and its exhibits (e.g., hourly rates), defendant submits that an evidentiary hearing will

   assist the Court in determining a reasonable fee.

                                                       Respectfully submitted,

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                                                       Florida Bar No. 091576

                                    CERTIFICATE OF SERVICE

          I certify that on December 9, 2019, I electronically filed this document with the Clerk of
   the Court using CM/ECF. I also certify that this document is being served today on all counsel of
   record either by transmission of Notices of Electronic Filing generated by CM/ECF or by U.S.
   Mail.

                                                                     _ /s/Andres Rivero
                                                                        ANDRES RIVERO




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